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                                      EXHIBIT A

Ace Decade Holdings Limited
Attn: Harcus Parker
7th Floor, Melbourne House
44-46 Aldwych
London, UK WC2B 4LL

Baiqiao Tang a/k/a Tang Baiqiao
501 Forest Avenue, #501
Palo Alto CA 94301

Baker Hostetler LLP
45 Rockefeller Plaza
New York, NY 10111

Beijing Bi Hai Ge Lin Yuan Lin Lu Hua, Ltd.
C/O Kevin Kerveng Tung, P.C.
136-20 38th Avenue, Suite 3D & 3F
Flushing NY 11354

Beijing Cheng Jian Wu Jian She Group, LTD.
C/O Kevin Kerveng Tung, P.C.
136-20 38th Avenue, Suite 3D & 3F
Flushing NY 11354

Beijing Fu Le Hong Ma Jian Zhu Zhuang Shi Gong Cheng, LTD.
C/O Kevin Kerveng Tung, P.C.
136-20 38th Avenue, Suite 3D & 3F
Flushing NY 11354

Beijing Zhong Xian Wei Ye Stainless Decoration Center
C/O Kevin Kerveng Tung, P.C.
136-20 38th Avenue, Suite 3D & 3F
Flushing NY 11354

Boxun, Inc.
C/O Arkin Solbakken, LLP
900 Third Avenue, 18th Floor
New York, NY 10022

Bravo Luck Ltd.
P.O. Box 957
Offshore Incorporations Centre, Road Town
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Tortola, British Virgin Islands

Burnette Shutt McDaniel
912 Lady Street
2nd Floor
PO Box 1929
Columbia, SC 29202

Chao-Chic Chiu
c/o Giordano, Halleran &. Ciesla, P.C.
1250 Broadway, 36th Floor
New York, NY 10010

Cheng (NY)
c/o Randazza Law Firm
2764 Sahara Drive, Suite 109
Las Vegas, NV 89117

Chong Shen Raphanella
WOLF HALDENSTEIN ADLER FREEMAN & HERZ LLP
270 Madison Avenue
New York NY 10016

Clark Hill PLC
JENNER & BLOCK LLP
1099 New York Ave., NW, Suite 900
Washington DC 20001

Clayman & Rosenberg LLP
305 Madison Avenue, Suite 650
New York, NY 10165

Danyu Lin
128 Woodcock Trail
West Columbia, SC 29169

Dawn State Limited
Attn: Harcus Parker
7th Floor, Melbourne House
44-46 Aldwych
London, UK WC2B 4LL

Dongna Fang
Law Offices of Phillips and King PLLC
5041 Airport Fwy
Fort Worth, TX 76117
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Troutman Peper Hamilton Sanders LLP
1313 North Market Streets, Suite 5100
Wilmington, DE 19801

Fan Bingbing
Lavely & Singer
4 New York Plaza, 2nd Floor
Cameron A. Stracher, Esq.
New York, NY 10004

Forbes Hare
Qwomar Building PO Box 4649
Road Town Tortola VG1110
British Virgin Islands

G Club Operations LLC
53 Calle Palmeras
Suite 1401
San Juan, PR 00901

Ganfer Shore Leeds & Zauderer
360 Lexington Avenue
New York, NY 10017

Genever Holdings Corporation
P.O. Box 3170
Road Town
Tortola, British Virgin Islands

Genever Holdings LLC
Unit 1801
The Sherry- Netherland Apartments
781 Fifth Avenue
New York NY 10022

Goldfarb & Huck Roth Riojas, PLLC
925 Fourth Avenue
Suite 3950
Seattle, WA 98104

GTV Media Group, Inc.
LAWALL & MITCHELL, LLC
162 E. 64th Street
New York, NY 10065
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                                                                                    22-50073

Guo Baosheng
C/O Law Office of Ning Ye, Esq.
135-11 38th Avenue, Suite 1A
Flushing, NY 11354

Haihong Wang
Carmody Torrance Sandak & Hennessey, LLP - NH
195 Church St. 18th floor, PO Box 1950
New Haven, CT 06509

Harcus Parker
7th Floor, Melbourne House,
44-46 Aldwych
London, WC2B 4LL

He Bei Yue Hua Zhuang Shi Gong Cheng LTD.
C/O Kevin Kerveng Tung, P.C.
136-20 38th Avenue, Suite 3D & 3F
Flushing, NY 11354

Hong Qi Qu Jian She Group, LTD.
C/O Kevin Kerveng Tung, P.C.
136-20 38th Avenue, Suite 3D & 3F
Flushing, NY 11354

Hong Zeng
3020 Edwin Ave., Apt. 1H
Fort Lee, NJ 07024

Janover LLC
100 Quentin Roosevelt Blvd
Suite 516
Garden City, NY 11530

Jiang Su Province Jian Gong Group LTD Beijing Branch
C/O Kevin Kerveng Tung, P.C.
136-20 38th Avenue, Suite 3D & 3F
Flushing NY 11354

Jianhu Yi
Arthur R. Angel, Attorney at Law
1305 N. Poinsettia Place
Los Angeles CA 90046

Jianshengxie and Jiefu Zheng
ML and CHEN, P.C.
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136-79 Roosevelt Ave. Suite 303
Flushing NY 11354

John S. Lau
53 Cody Avenue
Glen Head, NY 11545

Jonathan Young
15/23 Middle St, Cleveland
QLD 4160
Queensland Australia

June Shi
Thompson Hine Llp
20 N. Clark St., Suite 800
Chicago, IL 60602

Kercsmar Feltus & Collins PLLC
7150 E. Camelback Road
Suite 285
Scottsdale, AZ 85251

LALIVE SA
Rue de la Mairie 35
1207 Geneva
Switzerland

Lawall & Mitchell, LLC
55 Madison Avenue
Morristown, NJ 07960

Lihong Wei Lafrenz (a/k/a Sara Wei)
Coppersmith Brockelman PLC
2800 N. Central Avenue, Suite 1900
Phoenix, AZ 85004

Linda He Cheung
c/o Thompson Hine
335 Madison Avenue, 12th Floor
New York, NY 10017

Nan Tong Si Jian Group, LTD
C/O Kevin Kerveng Tung, P.C.
136-20 38th Avenue, Suite 3D & 3F
Flushing, NY 11354
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Pacific Alliance Asia Opportunity
C/O O’Melveney & Myers, LLP
7 Times Square
New York, NY 10065

Petrillo Klein & Boxer LLP
655 Third Avenue
22nd Floor
New York, NY 10017

Quiju Jia
Arthur R. Angel, Attorney at Law
1305 N. Poinsettia Place
Los Angeles, CA 90046

Rong Zhang
WOLF HALDENSTEIN ADLER FREEMAN & HERZ LLP
270 Madison Avenue
New York, NY 10016

Rui Ma
C/O Arkin Solbakken, LLP
900 Third Avenue, 18th Floor
New York, NY 10022

Ruizheng An
c/o AFN Law
41 Madison Ave, 31st Floor
New York, NY 10010

Rule of Law Foundation III, Inc.
KAUFMAN BORGEEST & RYAN LLP
120 Broadway – 14th Floor
New York, NY 10271

Rule of Law Society IV Inc.
NORRIS MCLAUGHLIN, P.A
7 Times Square, 21st Floor
New York, NY 10036

Ruquin Wang
c/o Thompson Hine
335 Madison Avenue, 12th Floor
New York, NY 10017

Schulman Bhattacharya, LLC
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6116 Executive Boulevard
Suite 425
Bethesda, MD 20852

Selas Montbrial Avocats
10, Rue Cimarosa
75116
Paris- France

Shane D Shook
2821 Monterey Avenue
Soquel CA 95073

Shi Jia Zhuang Zhen Yuan Jian Zhu An Zhuang Gong Cheng LTD Bejing First Branch
C/O Kevin Kerveng Tung, P.C.
136-20 38th Avenue, Suite 3D & 3F
Flushing, NY 11354

Shuang Wang
c/o Thompson Hine
335 Madison Avenue, 12th Floor
New York, NY 10017

Stokes Lawrence, PS
1420 Fifth Avenue
Suite 3000
Seattle,WA 98101

Strategic Vision US, LLC
GRAVES GARRETT LLC
1100 Main Street, Suite 2700
Kansas City, MO 64105

THE CASPER FIRM
400 E. Pratt Street
Suite 903
Baltimore, MD 21202

The Francis Firm PLLC
33 W. 60th Street, Flr 2
New York, New York 10023

The Law Offices of Rafael A. Vargas
100 N. Lasalle Street
Chicago, IL 60602
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The Sherry-Netherland Hotel
781 5th Avenue
New York, NY 10022

Thomas Ragland
JENNER & BLOCK LLP
1099 New York Ave., NW, Suite 900
Washington, DC 20001

Troutman Pepper Hamilton Sanders LLP
3000 Two Logan Square
Eighteenth and Arch Streets
Philadelphia, PA 19103

U.S. Legal Support, Inc.
200 West Jackson
Suite 600
Chicago, IL 60606

UBS AG
Attn: Herbert Smith Freehills LLP
Exchange House
Primrose Street
London, UK
EC2A 2EG

UBS AG (London Branch)
Attn: Herbert Smith Freehills LLP
Exchange House
Primrose Street
London, UK
EC2A 2EG


Una Manyee Wilkinson
68-18 Juno Street
Forest Hills, NY 11375

Voice Guo Media, Inc.
Coppersmith Brockelman PLC
2800 N. Central Avenue, Suite 1900
Phoenix, AZ 85004

VX Cerda & Associates
Attn: Victor Cerda
601 Brickell Ave
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                                             10
                                                                               Ho Wan Kwok
                                                                                   22-50073

Suite 700
Miami, FL 33131

Weican ("Watson") Meng
C/O Arkin Solbakken, LLP
900 Third Avenue, 18th Floor
New York, NY 10022

Weican Meng/Boxun, Inc.
C/O Arkin Solbakken, LLP
900 Third Avenue, 18th Floor
New York, NY 10022

Xiaobo Luo
250 Park Avenue, 7th Floor
c/o HGT Law
New York, NY 10177

Xiaodan Wang
WOLF HALDENSTEIN ADLER FREEMAN & HERZ LLP
270 Madison Avenue
New York, NY 10016

Xiqui ("Bob") Fu
The Lanier Law Firm
10940 W. Sam Houston Parkway N., Suite 100
Houston,TX 77064

Yan Huang
C/O Kevin Kerveng Tung, P.C.
136-20 38th Avenue, Suite 3D & 3F
Flushing, NY 11354

Yeliang Xia
Dennis Stewart & Krischer PLLC
2007 15th Street N, Suite 201
Arlington, VA 22201

Yunxia Wu
c/o Giordano, Halleran &. Ciesla, P.C.
1250 Broadway, 36th Floor
New York, NY 10010

Zeichner Ellman & Krause LLP
1420 New York Avenue NW
Suite 210
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                                                                           Ho Wan Kwok
                                                                               22-50073

Washington, DC 20005

Zong Xian Weiye
c/o Kevin Tung
38th Avenue Suite 3D
Flushing, NY 11354
